         Case 1:20-cv-00655-ADA Document 49 Filed 04/10/20 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

Voxer, Inc. and Voxer IP LLC

                 Plaintiffs,
                                                        Civil Action No. 6:20-cv-00011-ADA
v.
                                                        Jury Trial Demanded
Facebook, Inc. and Instagram LLC

                 Defendants.

                                 AGREED SCHEDULING ORDER

       Pursuant to Rule 16 of the Federal Rules of Civil Procedure and the Court's March 2,

2020 Order Governing Proceedings – Patent Case (Dkt. No. 31), the Court ORDERS that the

following schedule will govern deadlines in this matter:

Deadline                  Item

April 20, 2020            Plaintiff serves preliminary infringement contentions in the form of a
                          chart setting forth where in the accused product(s) each element of the
                          asserted claim(s) are found. Plaintiff shall also identify the earliest
                          priority date (i.e. the earliest date of invention) for each asserted claim
                          and produce: (1) all documents evidencing conception and reduction to
                          practice for each claimed invention, and (2) a copy of the file history for
                          each patent in suit.

June 16, 2020             Defendant serves preliminary invalidity contentions in the form of (1) a
                          chart setting forth where in the prior art references each element of the
                          asserted claim(s) are found, (2) an identification of any limitations the
                          Defendant contends are indefinite or lack written description under
                          section 112, and (3) an identification of any claims the Defendant
                          contends are directed to ineligible subject matter under section 101.
                          Defendant shall also produce (1) all prior art referenced in the invalidity
                          contentions, (2) technical documents, including software where
                          applicable, sufficient to show the operation of the accused product(s),
                          and (3) summary, annual sales information for the accused product(s)
                          for the prior two years, unless the parties agree to some other
                          timeframe.
         Case 1:20-cv-00655-ADA Document 49 Filed 04/10/20 Page 2 of 4




Deadline             Item

June 29, 2020        Parties exchange claim terms for construction.

July 13, 2020        Parties exchange proposed claim constructions.

July 20, 2020        Parties disclose extrinsic evidence. The parties shall disclose any
                     extrinsic evidence, including the identity of any expert witness they may
                     rely upon with respect to claim construction or indefiniteness. With
                     respect to any expert identified, the parties shall also provide a summary
                     of the witness's expected testimony including the opinions to be
                     expressed and a general description of the basis and reasons therefore.
                     A failure to summarize the potential expert testimony in a good faith,
                     informative fashion may result in the exclusion of the proffered
                     testimony. With respect to items of extrinsic evidence, the parties shall
                     identify each such item by production number or produce a copy of any
                     such item if not previously produced.

July 27, 2020        Deadline to meet and confer to narrow terms in dispute and exchange
                     revised list of terms/constructions.

August 3, 2020       Parties file Opening claim construction briefs, including any arguments
                     that any claim terms are indefinite.

August 24, 2020      Parties file Responsive claim construction briefs.

September 8, 2020    Parties file Reply claim construction briefs.

September 14, 2020   Parties submit Joint Claim Construction Statement. In addition to
                     filing, the parties shall jointly submit, via USB drive, cloud-storage, or
                     email to the law clerk pdf versions of all as-filed briefing and exhibits.
                     Absent agreement of the parties, the Plaintiff shall be responsible for the
                     timely submission of this and other Joint filings.

October 9, 2020      Markman Hearing.
9:00 am

October 16, 2020     Fact Discovery opens; deadline to serve Initial Disclosures per Rule
                     26(a).

November 20, 2020    Deadline to Add Parties.

December 4, 2020     Deadline to serve Final Infringement and Invalidity Contentions. After
                     this date, leave of Court is required for any amendment to Infringement
                     or Invalidity contentions. This deadline does not relieve the Parties of
                     their obligation to seasonably amend if new information is identified
                     after initial contentions.




                                              2
         Case 1:20-cv-00655-ADA Document 49 Filed 04/10/20 Page 3 of 4




Deadline                Item

January 4, 2021         Deadline to amend pleadings. A motion is not required unless the
                        amendment adds patents or claims.

May 7, 2021             Close of Fact Discovery.

May 14, 2021            Opening Expert Reports.

June 11, 2021           Rebuttal Expert Reports.

July 2, 2021            Close of Expert Discovery.

July 9, 2021            Deadline to meet and confer to discuss narrowing the number of claims
                        asserted and prior art references at issue.

July 16, 2021           Deadline to file a Joint Report re the meet and confer to discuss
                        narrowing the number of claims asserted and prior art references at
                        issue.

July 16, 2021           Dispositive motion deadline and Daubert motion deadline.

July 30, 2021           Serve Pretrial Disclosures (jury instructions, exhibits lists, witness lists,
                        discovery and deposition designations).

August 13, 2021         Serve objections to pretrial disclosures/rebuttal disclosures.

August 20, 2021         Serve objections to rebuttal disclosures and file motions in limine.

August 27, 2021         File Joint Pretrial Order and Pretrial Submissions (jury instructions,
                        exhibits lists, witness lists, discovery and deposition designations); file
                        oppositions to motions in limine.

September 3, 2021       Deadline to meet and confer regarding remaining objections and
                        disputes on motions in limine.

3 business days         File joint notice identifying remaining objections to pretrial disclosures
before Final Pretrial   and disputes on motions in limine.
Conference

September 17, 2021,     Final Pretrial Conference. The Court expects to set this date at the
or as soon as           conclusion of the Markman Hearing.
practicable

October 8, 2021, or as Jury Selection/Trial. The Court expects to set this date at the conclusion
soon as practicable    of the Markman Hearing.




                                                  3
 Case 1:20-cv-00655-ADA Document 49 Filed 04/10/20 Page 4 of 4




ORDERED this 10th day of April       , 2020.



                                 ALAN D ALBRIGHT
                                 UNITED STATES DISTRICT JUDGE




                                 4
